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 6    Email: Michael.Lasater@usdoj.gov
      Attorneys for the United States
 7
                                UNITED STATES DISTRICT COURT
 8
                           SOUTHERN DISTRICT OF CALIFORNIA
 9
       UNITED STATES OF AMERICA,                 Case No.: 18-MJ-2070-RBB
10
                   Plaintiff,
11                                               GOVERNMENTS POSITION RE:
             v.                                  JOINT TRIAL OF DEFENTANT IN
12
       Morena Elizabeth Mendoza-Romaldo,         CASE NUMBERS, 18MJ2070, 18MJ2071,
13                                               18MJ2074 AND 18MJ2085 AND
                   Defendant.                    ANTICIPATED LEGNTH OF CASE IN
14                                               CHIEF.
15         The Plaintiff, UNITED STATES OF AMERICA, by and through its counsel Adam
16 L. Braverman, United States Attorney and Michael E. Lasater, Assistant U.S. Attorney and

17 files GOVERNMENT’S POTITION RE: JOINT TRIAL OF DEFENDENTS and

18 ANTICIPATED LEGNTH OF CASE IN CHIEF.
19
                                                    I.
20
                  Government’s Position in Re: Joining Four Defendants in One Trial
21

22          In light of the relatively brief nature of the Government’s Case in Chief, it believes
23 the more prudent approach is to conduct the trials individually.

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25
      //
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27 //

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                                                         II.
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1                                      Length of Case in Chief
2
           The Government anticipates its Case in Chief to approximately one hour.
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5
           DATED: May 21, 2018                         Respectfully submitted,

6                                                      ADAM L. BRAVERMAN
7
                                                       United States Attorney

8                                                      /s/ Michael E Lasater
9
                                                       Assistant United States Attorney

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1                                 UNITED STATES DISTRICT COURT
2                             SOUTHERN DISTRICT OF CALIFORNIA
3

4
       UNITED STATES OF AMERICA,                         Case No.: 18-MJ-2070-RBB
5
                     Plaintiff,
6
               v.                                        CERTIFICATE OF SERVICE
7
       Morena Elizabeth Mendoza-Romaldo,
8
                     Defendant.
9

10
              I, Michael E Lasater, am a citizen of the United States and am at least eighteen years
      of age. My business address is 880 Front Street, Room 6293, San Diego, California 92101-
11
      8893.
12

13
              I am not a party to the above-entitled action. I have caused service of the COURTS
      POSITION RE: JOINT TRIAN OF DEFENTANT IN CASE NUMBERS, 18MJ2070,
14
      18MJ2071, 18MJ2074 AND 18MJ2085 AND ANTICIPATED LEGNTH OF CASE IN
15
      CHIEF, on the following parties:
16
                    Eric Studebaker Fish, Counsel for Defendant
17
              I declare under penalty of perjury that the foregoing is true and correct.
18

19
              Dated: May 21, 2018
20
                                                           s/ Michael E Lasater
21                                                         Michael E Lasater
22
                                                           Assistant U.S. Attorney

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